Case 16-39255        Doc 43     Filed 03/07/19      Entered 03/07/19 10:11:26         Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16-39255
         Paul A Jannotta

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 12/13/2016.

         2) The plan was confirmed on 03/24/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/08/2018.

         5) The case was dismissed on 01/04/2019.

         6) Number of months from filing to last payment: 22.

         7) Number of months case was pending: 27.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $6,253.32.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 16-39255        Doc 43      Filed 03/07/19     Entered 03/07/19 10:11:26                Desc         Page 2
                                                  of 3



 Receipts:

         Total paid by or on behalf of the debtor             $19,414.00
         Less amount refunded to debtor                            $0.00

 NET RECEIPTS:                                                                                   $19,414.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $4,000.00
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                      $1,067.91
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,067.91

 Attorney fees paid and disclosed by debtor:                    $0.00


 Scheduled Creditors:
 Creditor                                      Claim         Claim            Claim        Principal       Int.
 Name                                Class   Scheduled      Asserted         Allowed         Paid         Paid
 ACCEPTANCE NOW                  Secured             0.00          0.00             0.00           0.00        0.00
 CITY OF CHICAGO DEPT OF FINANCE Unsecured         122.00        242.40           242.40          26.04        0.00
 FORD MOTOR CREDIT CO            Secured        6,746.68       6,746.68         6,746.68      3,911.47      658.68
 HARLEY DAVIDSON CREDIT          Secured       16,822.79     16,822.79        16,822.79       5,720.53    2,140.81
 BRUCE KOLTON MD                 Unsecured         104.00           NA               NA            0.00        0.00
 SPOT LOAN                       Unsecured         800.00           NA               NA            0.00        0.00
 TARGET FINANCE LLC              Unsecured         700.00           NA               NA            0.00        0.00
 WELLS FARGO                     Unsecured         207.00           NA               NA            0.00        0.00
 CITY OF CHICAGO                 Unsecured          85.00           NA               NA            0.00        0.00
 COMENITY BANK                   Unsecured         511.00           NA               NA            0.00        0.00
 ILL DEPT OF EMPLOYMENT SECURIT Unsecured       4,515.00            NA               NA            0.00        0.00
 LABORATORY CORP OF AMERICA      Unsecured          40.00           NA               NA            0.00        0.00
 MOUNTAIN SUMMIT FINANCIAL       Unsecured         300.00           NA               NA            0.00        0.00
 NORTHEST COMMUNITY HEALTHCA Unsecured          3,037.00            NA               NA            0.00        0.00
 SNAP ON CREDIT                  Secured        3,364.32       3,364.32         3,364.32      1,153.99      236.78
 SPEEDY CASH                     Unsecured      1,275.00       1,929.01         1,929.01        207.25         0.00
 UNCLE WARBUCKS                  Unsecured      1,600.00       1,600.00         1,600.00        171.90         0.00
 VERIZON                         Unsecured            NA       1,104.27         1,104.27        118.64         0.00




UST Form 101-13-FR-S (9/1/2009)
Case 16-39255        Doc 43      Filed 03/07/19      Entered 03/07/19 10:11:26             Desc      Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal             Interest
                                                            Allowed               Paid                 Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00                $0.00
       Mortgage Arrearage                                     $0.00              $0.00                $0.00
       Debt Secured by Vehicle                           $23,569.47          $9,632.00            $2,799.49
       All Other Secured                                  $3,364.32          $1,153.99              $236.78
 TOTAL SECURED:                                          $26,933.79         $10,785.99            $3,036.27

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00             $0.00
        Domestic Support Ongoing                               $0.00               $0.00             $0.00
        All Other Priority                                     $0.00               $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $4,875.68            $523.83               $0.00


 Disbursements:

         Expenses of Administration                             $5,067.91
         Disbursements to Creditors                            $14,346.09

 TOTAL DISBURSEMENTS :                                                                      $19,414.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/07/2019                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
